                             THIRD AMENDED VIOLATION WORKSHEET

1.    Defendant       Kenneth Fredrick Calvo
2.    Docket Number (Year-Sequence-Defendant No.)                     CR13-00063-001
3.    District/Office        Guam
4.    Original Sentence Date         09     / 04     /    2014
                                    month      day         year
(If different than above):

5.    Original District/Office
6.    Original Docket Number (Year-Sequence-Defendant No.)
7.    List each violation and determine the applicable grade (see § 7B1.1(b)
Violation(s)                                                                                   Grade
          Failed to attend drug treatment sessions on March 20 and April 5, 2023, April          C
      • 19, 2023, and April 26, 2023.
          Verbally admitted to daily use of Meth for two weeks with last use on April 7,         C
      • 2023.

      • Failed to notify probation officer of change in employment.                              C
          12A Petition filed on 1/25/23 – admit “meth” December 11 and 13, 2022 (ECF             C
      • Doc. #121 and granted by Court ECF Doc. #123)

      • Submitted dilute urine specimens on April 11, 2023 and April 18, 2023.                   C
      •

8.        Most Serious Grade of Violation [see §7B1.1(b)]                                        C

9.        Criminal History Category [see §7B1.4(a)]                                              III

10.       Range of Imprisonment [see §7B1.4(a)]                                      5 to 11   months

11.       Sentencing Options for Grade B and C Violations Only (Check the appropriate box):
          ☒ (a) If the minimum term of imprisonment determined under §7B1.4 (Term of
            Imprisonment) is at least one month but not more than six months, §7B1.3(c)(1)
            provides sentencing options to imprisonment.
          ☐   (b) If the minimum term of imprisonment determined under §7B1.4 (Term of
              Imprisonment) is more than six months but not more than ten months, §7B1.3(c)(2)
              provides sentencing options to imprisonment.
          ☐   (c) If the minimum term of imprisonment determined under §7B1.4 (Term of
              Imprisonment) is more than ten months, no sentencing options to imprisonment are
              available.




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   12.    Unsatisfied Conditions of Original Sentence

          List any restitution, fine, community confinement, home detention, or intermittent
          confinement previously imposed in connection with the sentence for which revocation is
          ordered that remains unpaid or unserved at the time of revocation (see §7B1.3(d)):

          Restitution ($):              N/A            Community Confinement:            N/A
          Assessment Fee ($):           N/A            Home Detention:                   N/A
          Other:       50 hours of community service   Intermittent Confinement:         N/A


    13.   Supervised Release

          If probation is to be revoked, determine the length, if any, of the term of supervised
          release according to the provisions of §§5D1.1-1.3 (see §§7B1.3(g)(1)).

          Term:            to          months

          If supervised release is revoked and the term of imprisonment imposed is less than the
          maximum term of imprisonment imposable upon revocation, the defendant may, to the
          extent permitted by law, be ordered to recommence supervised release upon release
          from imprisonment [see 18 U.S.C. §3583(e) and §7B1.3(g)(2)].

          Period of supervised release to be served following release from          25 to 31 months
          imprisonment:

    14.   Departure

          List aggravating and mitigating factors that may warrant a sentence outside the
          applicable range of imprisonment:

          None.

    15.   Official Detention Adjustment (see §7B1.3(e)):           0   months           0      days




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